Case:17-03283-LTS Doc#:23631-12 Filed:02/27/23 Entered:02/27/23 00:24:23   Desc:
                            Exhibit L Page 1 of 2



                                   Exhibit L

         ACTIONS TO BE TRANSFERRED TO AVOIDANCE ACTIONS TRUST
Case:17-03283-LTS Doc#:23631-12 Filed:02/27/23 Entered:02/27/23 00:24:23                                             Desc:
                            Exhibit L Page 2 of 2



                         Actions to be Transferred to the Avoidance Actions Trust 1

     VENDOR NAME                                                  ADVERSARY PROCEEDING NO.
     Core Laboratories N.V. d/b/a Saybolt                         19-381
     Puerto Nuevo Security Guards, Inc.                           19-384




 1
     The actions to be transferred to the Avoidance Actions Trust include, but are not limited to, the actions listed on
            this Exhibit.



                                                              2
